Case 2:04-cr-20302-.]DB Document 25 Filed 04/18/05 Page 1 of 5 Page|D 35

UN|TED STATES D|STR|CT COURT
WESTERN DISTR|CT OF TENNESSEE Fii-:'--
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2:04CR20302-01-B L/
GRACE FRANC|SCA LONG
N|arty I\ichfee, CJA

Defense Attorney
246 Adams, Suite 200
ii/lemphis, TN 38103

 

JUDGNIENT IN A CR|N||NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 2 of the indictment in case number 04-20092 and
to Count 1 of the indictment in case number 04-20302 on January 12, 2005. Accordingiy,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section Nature of Offense Offense Number(sj
§Mde_d
21 U.S.C. § 841 and Possession of l\/|ethamphetamine With 12/28/2003 2
18 U.S.C. § 2 intent to Distribute (ln Excess of 50 (04-20092)
grams) and Aiding and Abetting
21 U.S.C. 841 Possession of N|ethamphetamine With 05/11/2004 1
intent to Distribute (in Excess of 50 (04-20302)

grams)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Count 1 of case number 04-20092 is dismissed on the motion of the United States.

|T |S FU RTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 5/8/1969 Aprii 14, 2005
Deft’s U.S. tharshai No.: 19590-076

Defendant’s Niailing Address:
4253 Trudy
Memphis, TN 38128

J. DAN|EL BFtEE!\|
iTED STATES DiSTR|CT JUDGE

:locu ment entered on the docket sheet in compliance

A rii ig ,2005
sure 55 and/orsz(b}l=ncrpon :-‘ /a’-d._/ p "_-

 

Case 2:O4-cr-20302-.]DB Document 25 Filed 04/18/05 Page 2 015 Page|D 36

Case No: 2:02CR20092-01-B Defendant Name: Grace Francisca LONG Page 2 of 4
i|VlPRISONiVIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 IVlonths.

The Court recommends to the Bureau of Prisons:
That the defendant be placed in a facility as close to Carsweii, Texas, as possib|e.

The defendant is remanded to the custody of the United States |Vlarsha|.

RETURN

i have executed this judgment as foiloWs:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

Case 2:O4-cr-20302-.]DB Document 25 Filed 04/18/05 Page 3 of 5 PagelD 37

Case No: 2:020820092-01-8 Defendant Name: Grace Francisca LONG Page 3 of 4
SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised releasel the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shail
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shaii not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:O4-cr-20302-.]DB Document 25 Filed 04/18/05 Page 4 of 5 PagelD 38

Case No: 2:02CFi20092-01-B Defendant Name: Grace Francisca LONG Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgment.

ADDIT|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release: 1

1. Defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer.

2. Defendant to cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00

The Special Assessment shall be due immediately.

FINE
No fine imposed

RESTITUTION
No Restitution was ordered.

     
 

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20302 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

Marty B. McAfee
MCAFEE & MCAFEE
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Memphis7 TN 38103

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Terreil L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

